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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     11/6/2020


E&T SKYLINE CONSTRUCTION, LLC,

                                            Plaintiff,                 19-CV-08069 (AT)(SN)

                          -against-                                            ORDER

TALISMAN CASUALTY INSURANCE
COMPANY, LLC,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

         The parties are directed to file a status letter by Friday, November 13, 2020, regarding

whether either party intends to file a motion for summary judgment. The letter should also

address whether the parties would like to schedule a settlement conference.

SO ORDERED.




DATED:           November 6, 2020
                 New York, New York




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